            Case 1:19-cv-10713-RGS Document 11 Filed 06/03/19 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


                                            )
BETH CONNELLY,                              )
                                            )
                PLAINTIFF,                  )
                                            )
       v.                                          C.A. NO. 1:19-cv-10713-RGS
                                            )
                                            )
AMAZON.COM, INC. AND
                                            )
TENMARKS EDUCATION LLC,
                                            )
                DEFENDANTS.                 )
                                            )

              DISCLOSURE STATEMENT PURSUANT TO FED. R. CIV. P. 7.1

       Pursuant to Rule 7.1, Defendant Amazon.com, Inc. through its attorneys, Littler

Mendelson, P.C., hereby discloses that Amazon.com, Inc. is a publicly traded company with the

stock symbol AMZN. Tenmarks Education, LLC, the other Defendant is an indirect wholly-

owned subsidiary of Amazon.com, Inc. No other publicly traded-company owns more than 10%

of Defendants’ stock.

                                                Respectfully submitted,

                                                AMAZON.COM, INC. AND TENMARKS
                                                EDUCATION LLC,

                                                By their attorneys,


                                                /s/ Michael Mankes
                                                Michael Mankes (Bar No. 662127)
                                                LITTLER MENDELSON, P.C.
                                                One International Place, Suite 2700
                                                Boston, MA 02110
                                                Phone 617.378.6000
                                                Fax 617.737.0052
June 3, 2019                                    mmankes@littler.com
           Case 1:19-cv-10713-RGS Document 11 Filed 06/03/19 Page 2 of 2



                                   CERTIFICATE OF SERVICE

        I, Michael Mankes, hereby certify that, on this 3rd day of June, 2019, the foregoing
Answer was filed electronically through the ECF system, is available for viewing and
downloading from the ECF system, and will be sent electronically to counsel of record as
registered participants identified on the Notice of Electronic Filing and via first class mail to all
non-registered participants identified on the Notice of Electronic Filing.



                                                     /s/ Michael Mankes
                                                     Michael Mankes




FIRMWIDE:164519050.1 090069.1191




                                                 2
